






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00331-CR







Fermine Louis Castillo, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 26TH JUDICIAL DISTRICT


NO. 05-677-K26, HONORABLE BILLY RAY STUBBLEFIELD, JUDGE PRESIDING






O R D E R


PER CURIAM

The reporter's record in this cause was due to be filed on December 18, 2006.  The
court reporter requests that the time be extended to January 22, 2007.

The court reporter for the 26th District Court, Ms. Ellaine Forester, is ordered to
tender the reporter's record for filing in this cause no later than January 22, 2007. 

It is ordered January 12, 2007.



Before Chief Justice Law, Justices Puryear and Henson 

Do Not Publish


